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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 BENJAMIN RAMEY, LOURDES                              Case No. 2:20-cv-00753-RJC
 BURGOS, and TYLER THOMSON, on
 behalf of themselves and all others similarly
 situated,

                            Plaintiffs,

       v.

 THE PENNSYLVANIA STATE
 UNIVERSITY,

                             Defendant.

                       NOTICE OF CHANGE OF LAW FIRM NAME

TO THE HONORABLE COURT AND ALL COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that effective immediately, the contact information for Gary F.

Lynch, Kelly K. Iverson, Edward W. Ciolko, and Nicholas A. Colella, attorneys of record for

Plaintiffs, will be as follows, reflecting a change of firm name and email addresses:

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Dated: October 21, 2021                   /s/ Gary F. Lynch
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 21, 2021, a copy of foregoing document was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to counsel of record for all parties, as indicated on the electronic filing receipt. Parties may access

this filing through the Court’s system.

                                                       /s/ Gary F. Lynch
                                                       Gary F. Lynch




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